Case 1:19-cv-00389-ACK-KJM Document 29 Filed 11/21/19 Page 1 of 2       PageID #: 151




  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-170 Hualalai Road, Suite B204
  Kailua-Kona, Hawai’i 96740
  Telephone: (808) 464-4047
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

  Attorney for Plaintiff
  HB Productions, Inc.

                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   HB Productions, Inc.,                  )   Case No.: 1:19-cv-389-ACK-KJM
                                          )   (Copyright)
                     Plaintiff,           )
      vs.                                 )   MOTION FOR LEAVE TO FILE
                                          )   FIRST AMENDED COMPLAINT;
   JOHN DOE et. al.,                      )   MEMORANDUM OF POINTS
                                          )   AND AUTHORITIES IN
                    Defendants.           )   SUPPORT OF MOTION;
                                          )   DECLARATION OF COUNSEL;
                                          )   EXHIBITS 1-2
                                          )

      MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

        COME NOW, Plaintiff HB Productions, Inc., by and through its counsel,

  moves for leave to amend the complaint. This motion is brought pursuant to Rule

  15(a)(2) of the Federal Rules of Civil Procedure and based upon the attached

  Memorandum, Exhibits, Declaration of Counsel and the pleadings of this case.

        DATED: Kailua-Kona, Hawaii, November 21, 2019.
Case 1:19-cv-00389-ACK-KJM Document 29 Filed 11/21/19 Page 2 of 2   PageID #: 152




                               CULPEPPER IP, LLLC


                               /s/ Kerry S. Culpepper
                               Kerry S. Culpepper

                               Attorney for Plaintiff
